 USCA11 Case: 22-12687    Document: 44       Date Filed: 03/31/2023   Page: 1 of 33



                     APPEAL CASE NO.: 22-12687-HH


                IN THE
UNITED STATES COURT OF APPEALS FOR THE
           ELEVENTH CIRCUIT

   JOEL B. ROTHMAN, CRAIG A. WIRTH, and SRIPLAW, P.A.,
                      Appellants,

                                        v.

                   A SHOC BEVERAGE, LLC, et. al.
                            Appellees.


    APPEAL FROM THE UNITED STATES DISTRICT COURT FOR THE
               SOUTHERN DISTRICT OF FLORIDA
                Case No.: 9:21-cv-80740-DMM-WM


                    APPELLANTS’ REPLY BRIEF



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 USCA11 Case: 22-12687          Document: 44    Date Filed: 03/31/2023   Page: 2 of 33



     CERTIFICATE OF INTERESTED PERSONS AND CORPORATE
                DISCLOSURE STATEMENT (CIP)

      Appellants, JOEL B. ROTHMAN, CRAIG A. WIRTH, and SRIPLAW,

P.A., by and through their undersigned counsel and pursuant to 11th Cir. R. 26.1-

1(a) hereby state as follows:

      Upon information and belief based on due diligence research performed, the

following are believed to have an interest in the outcome of this case or appeal:

      A Shoc Beverage, LLC

      Celsius Holdings, Inc.

      Coffey Burlington, P.L. – Counsel for A Shoc Beverage, LLC and Keurig

      Dr. Pepper, Inc.

      DeSantis, Carl – Shareholder of Celsius Holdings, Inc.

      Dial, Avery A. – Counsel for Appellants

      Hogan, Howell S. – Counsel for A Shoc Beverage, LLC and Keurig Dr.

      Pepper, Inc.

      Kaplan, Kevin C. – Counsel for A Shoc Beverage, LLC and Keurig Dr.

      Pepper, Inc.

      Kaufman Dolowich & Voluck, LLP – Counsel for Appellants

      Keurig Dr. Pepper, Inc.

      Kopp, Christopher F. – Counsel for A Shoc Beverage, LLC and Keurig Dr.

      Pepper, Inc.

                                           ii
USCA11 Case: 22-12687    Document: 44      Date Filed: 03/31/2023   Page: 3 of 33



    Milmoe, William H. – Shareholder of Celsius Holdings, Inc.

    Rothman, Joel B. – Appellant

    Schabert, Barbara R. – Counsel for Appellants

    Shing, Li Ka – Shareholder of Celsius Holdings, Inc.

    SRIPLAW, P.A. – Appellant

    Teitelbaum, Meir – Counsel for Celsius Holdings, Inc.

    Wirth, Craig A. – Appellant

                                                        /s/ Avery A. Dial, Esq.




                                     iii
 USCA11 Case: 22-12687                      Document: 44            Date Filed: 03/31/2023                Page: 4 of 33



                                           TABLE OF CONTENTS

TABLE OF AUTHORITIES .....................................................................................v
I.     SUMMARY OF THE REPLY ARGUMENT....................................................1
II. ARGUMENT ......................................................................................................2
     a. De Novo Review Applies and on De Novo Review Reversal is Required
     Because Former Counsel’s Procedural Due Process Rights Were Violated .........2
       1.       The District Court Failed to Provide Fair Notice to Former Counsel .......2
       2. Lumping Former Counsel in with Celsius by Conflating their Roles
       Deprived Former Counsel of Fair Notice ...........................................................5
     b. The Record is Devoid of Any Bad Faith Conduct by Counsel and the District
     Court’s Finding of Bad Faith was an Abuse of Discretion ..................................12
       1. A Shoc’s Crystal Ball Waiver Argument Fails ........................................15
       2. Blaming Former Counsel for its Client’s Actions Simply Because
       Lawyers in Our Judicial System are their Client’s Representatives is Not a
       Substitute for Proving Bad Faith.......................................................................18
       3. None of A Shoc’s Legal Authorities Provide any Support for the
       Unprecedented Sanctions Imposed by the District Court Below on Former
       Counsel Whose Only Iniquity was that they Represented A Shoc’s Competitor
       Celsius. ..............................................................................................................21
       4. The District Court’s Sanction Award was Untethered to Any Alleged
       Vexatious Conduct ............................................................................................23
III.        CONCLUSION..............................................................................................25




                                                              iv
  USCA11 Case: 22-12687                    Document: 44             Date Filed: 03/31/2023                Page: 5 of 33



                                        TABLE OF AUTHORITIES
Cases
293 F.3d at 1308.........................................................................................................9
311 F.3d 1077 (11th Cir. 2002) ...............................................................................19
766 F. App’x 901, 908 (11th Cir. 2019) ..................................................................22
855 F.2d 1009, 1020 (2d Cir. 1988).........................................................................23
Access Now, Inc. v. Sw. Airlines Co., 385 F.3d 1324, 1330 (11th Cir. 2004) .........17
Amlong & Amlong, 500 F.3d at 1242 ......................................................................24
Amlong & Amlong, P.A. v. Denny’s, Inc., 457 F.3d 1180 (11th Cir. 2006) ........7, 19
Amlong & Amlong, P.A. v. Denny’s, Inc., 500 F.3d 1230 (11th Cir. 2006), ...........22
Apex Oil Co. v. Belcher Co. of N.Y. .........................................................................23
Auto-Owners Ins. Co. v. Summit Park Townhome Ass’n, 198 F. Supp. 3d 1239,
   1245 (D. Colo. 2016). ..........................................................................................11
Auto-Owners Ins. Co. v. Summit Park Townhome Ass’n, 886 F.3d 863 (10th Cir.
   2018) ......................................................................................................................9
Auto-Owners, 886 F.3d at 866 .................................................................................10
Auto-Owners, 886 F.3d at 868-9 ..............................................................................10
BankAtlantic v. Blythe Eastman Paine Webber, Inc., 12 F.3d 1045, 1050 (11th Cir.
   1994) ......................................................................................................................2
BankAtlantic, 12 F.3d at 1050....................................................................................6
Blue v. Lopez, 901 F.3d 1352, 1357 n.3 (11th Cir. 2018)........................................18
Carlucci v. Piper Aircraft Corp., 775 F.2d 1440, 1453 (11th Cir. 1985)................24
Chambers v. NASCO, Inc., 501 U.S. 32, 50 (1991)...................................................3
DeVaney v. Cont’l Am. Ins. Co., 989 F.2d 1154, 1159 (11th Cir. 1993)...................2
Donaldson v. Clark, 819 F.2d 1551, 1559-61 (11th Cir. 1987) ................................4
Donaldson, 819 F.2d at 1562 .....................................................................................4
Eldredge v. EDCare Mgmt. .....................................................................................22
Frey v. Town of Jackson, 41 F.4th 1223 (10th Cir. 2022) .......................................20
Frey, 41 F.4th at 1244 ..............................................................................................20
In re Finkelstein, 901 F.2d 1560, 1564 (11th Cir. 1990) ...........................................3
In re Finkelstein, 901 F.2d 1560, 1565 (11th Cir. 1990) ...........................................5
In re Mroz, 65 F.3d at 1575-76. .................................................................................3
In re Ruffalo, 390 U.S. 544, 545 (1968) ....................................................................3
Link v. Wabash R. Co., 370 U.S. 626, 632 (1962) .....................................................3
McMahan v. Toto, 256 F.3d 1120, 1129 (11th Cir. 2001).......................................19
Oliva v. NBTY, Inc., 583 F. App’x 877, 881 (11th Cir. 2014).................................20
Oliva v. NBTY, Inc., No. 11-80850-CIV, 2014 U.S. Dist. LEXIS 193390 (S.D. Fla.
   Apr. 28, 2014) ......................................................................................................20
Peterson v. BMI Refractories, 124 F.3d 1386, 1395 (11th Cir. 1997) ....................19


                                                               v
  USCA11 Case: 22-12687                     Document: 44             Date Filed: 03/31/2023                 Page: 6 of 33



Peterson, 124 F.3d at 1396 ......................................................................................24
POM Wonderful LLC v. Coca-Cola Co., 573 U.S. 102 (2014) ...............................14
Royal Palm Props., LLC v. Pink Palm Props., LLC, No. 17-80476-CV, 2021 U.S.
  Dist. LEXIS 54150 (S.D. Fla. Feb. 17, 2021) .....................................................11
Royal Palm Props., LLC v. Pink Palm Props., LLC, No. 17-80476-CV-DMM,
  2018 U.S. Dist. LEXIS 140370 (S.D. Fla. Aug. 17, 2018) .................................11
Royal Palm Props., Ltd. Liab. Co. v. Pink Palm Props., Ltd. Liab. Co., 38 F.4th
  1372 (11th Cir. 2022). ..........................................................................................11
Royal Palm Props., Ltd. Liab. Co. v. Pink Palm Props., Ltd. Liab. Co., 950 F.3d
  776 (11th Cir. 2020). ............................................................................................11
Ruffalo, 390 U.S. at 556 .............................................................................................5
Serra Chevrolet, Inc. v. GMC, 446 F.3d 1137, 1147 (11th Cir. 2006) ......................2
Thomas v. Tenneco Packaging Co., 293 F.3d 1306 (11th Cir. 2002) .......................9
Thomas v. Tenneco Packaging, Co., 293 F.3d 1306, 1320 (11th Cir. 2002) ............3
Thomas, 293 F.3d at 1316 n.14 ................................................................................10
Thomas, 293 F.3d at 1316-17 ..................................................................................10
United States v. Shaygan, 652 F.3d 1297, 1310 (11th Cir. 2011) .............................2
Young Apartments, 503 F. App’x at 715-6 ..............................................................22
Young Apartments, Inc. v. Town of Jupiter, 503 F. App’x 711, 716 (11th Cir. 2013)
  ..............................................................................................................................22
Young Apartments, Inc. v. Town of Jupiter, FL, 529 F.3d 1027 (11th Cir. 2008) ..22
Statutes
§ 1927 ............................................................................................................... passim
§ 1983 .......................................................................................................................19
15 U.S.C. § 1117(a) .................................................................................................11
28 U.S.C. § 1927 ..................................................................................................6, 24
Section 1927 ............................................................................................ 5, 19, 23, 24
Rules
Fed. R. Civ. P. Rule 11 ..............................................................................................3
Fed. R. Crim. P. 42(b) ................................................................................................4
Rule 11 ...................................................................................................................4, 8




                                                               vi
 USCA11 Case: 22-12687       Document: 44      Date Filed: 03/31/2023    Page: 7 of 33



               I.   SUMMARY OF THE REPLY ARGUMENT

      The district court provided no notice to former counsel for Celsius

whatsoever before counsel was summarily sanctioned in violation of counsel’s due

process rights. Former counsel were never advised of the charges against them,

never given an opportunity to defend themselves, and were fined solely on the

basis of counsel’s role as counsel for Celsius. On de novo review, the absence of

any facts or evidence in the record demonstrating counsel did anything

sanctionable requires reversal.

      In response to former counsel’s appeal challenging the factual and legal

basis for the district court’s decision below, A Shoc failed to search the record and

cite to evidence to support the district court’s conclusions. Instead, A Shoc’s brief

is filled with references to the district court’s decision at DE 66 as supportive of

the district court’s conclusions in that same decision. A Shoc’s brief referred

throughout to the district court’s findings being “supported by the record,” but A

Shoc never once cited to record evidence that supported any of the district court’s

findings. Instead, A Shoc repeatedly cited to the district court’s decision at DE 66

as if the district court’s conclusions were somehow self-supporting. They are not.

      It was incumbent on A Shoc to show this court record facts supporting the

district court’s determinations. Citing to DE 66 over and over again revealed the

truth: there is no support whatsoever for the imposition of sanctions against former


                                           1
 USCA11 Case: 22-12687       Document: 44     Date Filed: 03/31/2023    Page: 8 of 33



counsel, and it was an abuse of discretion for the district court to sanction former

counsel under § 1927.

                               II.   ARGUMENT

   a. De Novo Review Applies and on De Novo Review Reversal is Required
      Because Former Counsel’s Procedural Due Process Rights Were
      Violated

      A Shoc argued in its brief that the standard of review is abuse of discretion.

(Resp. Br. at 16). A Shoc’s reply ignores former counsel for Celsius’ assertion that

de novo review applies where, as here, the district court denied former counsel due

process. (Init. Br. at 31). Former counsel for Celsius cited BankAtlantic v. Blythe

Eastman Paine Webber, Inc., 12 F.3d 1045, 1050 (11th Cir. 1994) and DeVaney v.

Cont’l Am. Ins. Co., 989 F.2d 1154, 1159 (11th Cir. 1993) for the proposition that

the district court’s imposition of sanctions denied former counsel constitutionally

effective notice and is reviewed de novo. A Shoc offered no argument in response.

      De novo review is indisputably proper due to the district court’s violation of

former counsel’s due process. United States v. Shaygan, 652 F.3d 1297, 1310 (11th

Cir. 2011) (“[w]e review de novo the argument that the sanctions imposed by a

district court violated due process.”) quoting Serra Chevrolet, Inc. v. GMC, 446

F.3d 1137, 1147 (11th Cir. 2006).

      1. The District Court Failed to Provide Fair Notice to Former Counsel
      “[F]or the imposition of sanctions to be proper, a court ‘must comply with



                                          2
 USCA11 Case: 22-12687       Document: 44       Date Filed: 03/31/2023   Page: 9 of 33



the mandates of due process.’“ Thomas v. Tenneco Packaging, Co., 293 F.3d 1306,

1320 (11th Cir. 2002) quoting Chambers v. NASCO, Inc., 501 U.S. 32, 50 (1991).

“Due process requires that the attorney (or party) be given fair notice that his

conduct may warrant sanctions and the reasons why,” as well as “an opportunity to

respond, orally or in writing, to the invocation of such sanctions and to justify his

actions.” In re Mroz, 65 F.3d at 1575-76.

      “The adequacy of notice and hearing respecting proceedings that may affect

a party’s rights turns, to a considerable extent, on the knowledge which the

circumstances show such party may be taken to have of the consequences of his

own conduct.” Link v. Wabash R. Co., 370 U.S. 626, 632 (1962). In disbarment

proceedings for example, attorneys are entitled to procedural due process requiring

charges of specific misconduct in advance so that the attorney can defend against

the charges; charges added as a result of witness testimony during disbarment

hearings do not qualify as fair notice. See In re Ruffalo, 390 U.S. 544, 545 (1968);

In re Finkelstein, 901 F.2d 1560, 1564 (11th Cir. 1990) (citing Ruffalo for the

proposition that the relevant inquiry is whether the attorney can be deemed to have

been on notice that the courts would condemn the conduct for which he was

sanctioned.)

      When called upon to consider what fair notice meant in connection with the

prior version of Fed. R. Civ. P. Rule 11 (before it was amended to provide 21 days



                                            3
USCA11 Case: 22-12687        Document: 44      Date Filed: 03/31/2023    Page: 10 of 33



notice), this Court said:

      Due process requires that the attorney (or party where applicable) has
      fair notice of the possible imposition of Rule 11 sanctions and of the
      reasons for their imposition. The existence of Rule 11 itself
      constitutes a form of notice since the rule imposes an affirmative duty
      on an attorney to conduct a reasonable inquiry into the viability of a
      pleading before it is signed; an attorney could not assert that he or she
      had no notice or knowledge of the standards of conduct that the rule
      itself provides.
      ***
      The accused must be given an opportunity to respond, orally or in
      writing as may be appropriate, to the invocation of Rule 11 and to
      justify his or her actions.
      ***
      When an attorney has failed to present necessary factual support for
      claims despite several opportunities to do so, for example, further
      hearing on the sanctions issue may well be not only unnecessary but
      also a waste of judicial resources. On the other hand, when a court is
      asked to resolve an issue of credibility or to determine whether a good
      faith argument can be made for the legal position taken, the risk of an
      erroneous imposition of sanctions under limited procedures and the
      probable value of additional hearing are likely to be greater.
Donaldson v. Clark, 819 F.2d 1551, 1559-61 (11th Cir. 1987).1

      Applying the principles of Donaldson here, fair notice was absent.2 Former

counsel were never advised of their transgressions and never given an opportunity

to defend themselves. Former counsel were fined solely on the basis of counsel’s

1
 In his concurrence, Judge Johnson, joined by Judges Tjoflat, Kravitch and
Hatchett, went even further and suggested that in some situations the safeguards
applicable to criminal contempt proceedings under Fed. R. Crim. P. 42(b) may
have to be followed when imposing sanctions. Donaldson, 819 F.2d at 1562.
2
  The sanctions award was also an excessive fine and violated counsel’s client’s
free speech rights (Init. Br. at 49-50), but the lack of fair notice led to the other
violations.


                                           4
USCA11 Case: 22-12687        Document: 44      Date Filed: 03/31/2023   Page: 11 of 33



role as counsel for Celsius without being informed of the facts or evidence

showing that counsel did something apart from representing their client.

      This Court previously agreed with Justice White’s pronouncement that it is

wrong to “deprive an attorney of the opportunity to practice his profession on the

basis of a determination after the fact that conduct is unethical if responsible

attorneys would differ in appraising the propriety of that conduct.” In re

Finkelstein, 901 F.2d 1560, 1565 (11th Cir. 1990) quoting Ruffalo, 390 U.S. at 556

(White, J., Concurring). In Finkelstein, this Court similarly refused to impose

sanctions on an attorney for the same reasons as the Supreme Court in Ruffalo. A

Shoc claims this Court can do exactly what Finkelstein and Ruffalo prohibited:

punish former counsel based on post hoc determinations without any evidence to

back them up. A Shoc is wrong, and de novo review makes this apparent.

      2. Lumping Former Counsel in with Celsius by Conflating their Roles
         Deprived Former Counsel of Fair Notice
      A Shoc’s vague arguments and non-specific claims in response cast a wide

net. A Shoc points to its counsel’s presentation at the hearing. (Resp. Br. at 33).

That presentation asserted that an exceptional case finding under Lanham was

justified, and that an “award of monetary sanctions is also independently supported

under the Court’s exercise of inherent authority against Celsius, and/or its counsel,

and under Section 1927, which would be directed against counsel.” (DE 82-1 at 4).

But A Shoc never said in its presentation why counsel, as opposed to Celsius,


                                           5
USCA11 Case: 22-12687        Document: 44     Date Filed: 03/31/2023   Page: 12 of 33



deserved such harsh treatment.

      The district court said nothing in the hearing that put former counsel on

notice of anything they did wrong independently of their representation of their

client or that justified the imposition of sanctions against counsel alone. Former

counsel never received “fair notice” from the district court that their heads were on

the district court’s chopping block.

      A Shoc’s submissions in support of its motion for sanctions were devoid of

any specific facts implicating former counsel in any vexatious or litigation

multiplying behavior whatsoever. A Shoc’s motion in support dropped a footnote

where it “defer[ed] to the Court whether it is appropriate to sanction Plaintiff’s

counsel under 28 U.S.C. § 1927 or Celsius under the Court’s inherent power,” but

otherwise A Shoc was silent about why former counsel deserved sanctions.

      A Shoc characterized former counsel’s due process claims as “a grab bag of

alleged constitutional violations” (Resp. Br. at 33) but failed to substantively

address any of them, mischaracterized the record, and conflated former counsel’s

actions with those of its former client Celsius. Take for example A Shoc’s response

to former counsel’s procedural due process argument. (Resp. Br. at 33). Former

counsel for Celsius argued that they were entitled to notice from the district court

that “their actions subjected them to sanction and whether the sanction was ‘just’

under the circumstances” citing BankAtlantic, 12 F.3d at 1050. (Init. Br. at 49).



                                          6
USCA11 Case: 22-12687       Document: 44      Date Filed: 03/31/2023   Page: 13 of 33



      A Shoc argument in response conflates former counsel with its former client

Celsius. Even though A Shoc’s motion for sanctions was directed at Celsius and

only mentioned former counsel in the footnote on page one of the motion, A Shoc

now misleadingly claims former counsel “indisputably had notice that Defendants

were seeking fees against counsel in their personal capacity” because the title and

text of § 1927 says counsel “personally” must pay the amounts “incurred as a

result of sanctionable conduct, a point that was spelled out throughout A SHOC’s

briefing. DE 54 at 11.”

      A Shoc’s argument is a gross mischaracterization of what occurred below.

The portion of A Shoc’s motion that A Shoc cited to quoted from the text of §

1927, cited this Court’s decision in Amlong & Amlong, P.A. v. Denny’s, Inc., 457

F.3d 1180 (11th Cir. 2006) (that reversed the district court’s imposition of

sanctions against the attorneys in that case), and then argued:

      Celsius’s conduct in this case is a textbook example of proceedings
      that have been multiplied “unreasonably and vexatiously.” It brought
      claims with no basis in law or fact and dragged out discovery with
      frivolous objections. It willfully disregarded the Court’s scheduling
      order, finally withdrawing its claims only to avoid appearing before
      this Court to justify its conduct. An award of sanctions is appropriate.
(DE 54 at 11)(emphasis added).

      A Shoc’s assertion that the passage quoted above “clearly put Appellants on

notice that it was seeking fees against counsel personally, since the sanctionable

conduct was undertaken exclusively by Celsius’s attorneys” (Resp. Br. at 33) is


                                          7
USCA11 Case: 22-12687       Document: 44     Date Filed: 03/31/2023   Page: 14 of 33



absurd. The passage refers to “Celsius’s conduct” not counsel’s conduct. The “It”

that A Shoc claimed “brought claims with no basis in law or fact” was Celsius.3

The “It” that A Shoc claimed “dragged out discovery with frivolous objections”

was Celsius.4 The “It’ that A Shoc claimed “willfully disregarded the Court’s

scheduling order” was Celsius.5 The “It” that A Shoc claimed “withdr[ew] its

claims only to avoid appearing before this Court to justify its conduct” was

Celsius.6

      Arguing former counsel should have known sanctions were being sought

against them, A Shoc asks the question: “what more the district court could have

possibly done to give Appellants an opportunity to present countervailing evidence




3
 The district court never determined the motion to dismiss. No motion for
summary judgment was filed. No Rule 11 motion was served or filed. No
determination that anyone “brought claims with no basis in law or fact” was ever
made.
4
  The district court never ruled on A Shoc’s motions to compel or Celsius’
discovery objections. No determination that Celsius’ discovery objections were
frivolous was ever made below.
5
 The district court’s “rocket docket” scheduling order was never violated by
Celsius. There was never any determination made on this claim and it is
completely false.
6
 Celsius’ motivation for dismissing the case was explained in its opposition to the
sanctions motion (DE 57) and Appellants’ initial brief and had nothing to do with
any concerns about appearing before either the Magistrate Judge or the District
Judge in the case below. A Shoc’s rebranding and the SEC investigation of Celsius
are relevant to this issue, notwithstanding A Shoc’s contrary view. (Resp. Br. at
35-36).


                                         8
USCA11 Case: 22-12687       Document: 44     Date Filed: 03/31/2023   Page: 15 of 33



or argument”?7 (Resp. Br. at 34). Instead of answering its own question, A Shoc

punctuated that last sentence with citations this Court’s decision in Thomas v.

Tenneco Packaging Co., 293 F.3d 1306 (11th Cir. 2002), and the Tenth Circuit’s

decision in Auto-Owners Ins. Co. v. Summit Park Townhome Ass’n, 886 F.3d 863

(10th Cir. 2018).

      But Thomas and Auto-Owners stand as examples of the fair notice required

that former counsel never received below. In Thomas, the district court sanctioned

counsel for submitting documents “saturated with rude, demeaning remarks about

opposing counsel’s physical traits and demeanor that served no purpose other than

to harass and intimidate opposing counsel,” 293 F.3d at 1308, but it did so only

after only after it “issued an order directing Munson to show cause why sanctions

should not be levied against her.” Id.

      The court stated that it was issuing the Show Cause Order because
      “various documents submitted by Plaintiff’s counsel . . . contain
      improper, offensive, and insulting statements which amount to little
      more than personal attacks on opposing counsel.” R4-113-1.
      Specifically, the district court pointed to five documents that
      contained “personal attacks on [opposing counsel’s] character and his
      fitness as an attorney.”
      ***
      Based on the offensive remarks about opposing counsel contained in
      the five documents, the court stated that it was considering the

7
 How about give former counsel fair notice by issuing an order to show cause with
specific allegations about counsel’s conduct the court believed was vexatious?
That’s what happened in Thomas, 293 F.3d at 1316, but it is not what happened
below.


                                         9
USCA11 Case: 22-12687        Document: 44       Date Filed: 03/31/2023   Page: 16 of 33



      imposition of sanctions on Munson. Before it reached a conclusion on
      the matter, however, the district court noted that Munson was to have
      an opportunity to respond. Accordingly, the court granted Munson
      twenty days to show cause why sanctions would not be proper.
Thomas, 293 F.3d at 1316-17. This Court affirmed the sanctions order because,

inter alia, the attorney had very specific fair notice of the district court’s grievance.

This Court also rejected the argument that the sanctions were entered sua sponte,

determining that the lawyer had fair notice under the circumstances. Thomas, 293

F.3d at 1316 n.14.

      The Tenth Circuit in Auto-Owners affirmed sanctions against two lawyers

who failed to disclose their prior relationships with an appraiser appointed to

appraise the property at issue in that insurance dispute. The plaintiff and its

lawyers were warned in advance by order of the district court to disclose facts

bearing on the appraiser’s impartiality. Auto-Owners, 886 F.3d at 866. The lawyers

disregarded the court’s warning. The lawyers knew that the appraiser they

proposed had worked on appraisals for 33 other clients of the lawyers’ firm, the

firm represented the appraiser for more than a decade, the law firm and the

appraiser co-founded a Florida lobbying firm together, and one of the law firm’s

attorneys’ was incorporator and registered agent for one of the appraiser’s

companies. Auto-Owners, 886 F.3d at 868-9. Furthermore, the district court in

Auto-Owners did not treat the lawyers and their client as one and the same, but

instead analyzed the client’s conduct separately from the lawyers’ and determined



                                           10
USCA11 Case: 22-12687        Document: 44       Date Filed: 03/31/2023   Page: 17 of 33



that the client also deserved sanctions because it “was aware of [the appraiser’s]

background and bears at least some degree of responsibility for his selection and

his inadequate disclosures.” Auto-Owners Ins. Co. v. Summit Park Townhome

Ass’n, 198 F. Supp. 3d 1239, 1245 (D. Colo. 2016).

      A Shoc ’s argument that former counsel always knew they were in the cross

hairs for a sanctions award and that as a result their due process rights could not

have been violated because former counsel ended his presentation with the

statement that “the § 1927 motion accuses me personally of vexatious conduct”

once again conflates counsel with their client Celsius and takes the statement to the

district judge out of context. (Resp. Br. at 33).

      Former counsel’s conclusion to his argument followed on the heels of an

exchange between the district court and counsel concerning whether the case was

exceptional under the attorneys’ fee standard applicable to Lanham Act cases. 8

Counsel then summed up his argument:

8
  In the course of that discussion, former counsel referred to the district court’s
decision in Royal Palm Props., LLC v. Pink Palm Props., LLC, No. 17-80476-CV,
2021 U.S. Dist. LEXIS 54150 (S.D. Fla. Feb. 17, 2021) that denied “exceptional
case” fees under the Lanham Act, 15 U.S.C. § 1117(a), which was subsequently
affirmed by this Court in Royal Palm Props., Ltd. Liab. Co. v. Pink Palm Props.,
Ltd. Liab. Co., 38 F.4th 1372 (11th Cir. 2022). The district court then responded by
referring to its earlier decision on the trademark issues in Royal Palm Props., LLC
v. Pink Palm Props., LLC, No. 17-80476-CV-DMM, 2018 U.S. Dist. LEXIS
140370 (S.D. Fla. Aug. 17, 2018), that was reversed by this Court on appeal. Royal
Palm Props., Ltd. Liab. Co. v. Pink Palm Props., Ltd. Liab. Co., 950 F.3d 776
(11th Cir. 2020).


                                           11
USCA11 Case: 22-12687        Document: 44       Date Filed: 03/31/2023   Page: 18 of 33



      You know, my concern is obvious, your Honor; that my client, you
      know, had a valid case, and that the 1927 motion accuses me
      personally of vexatious conduct. And I have been called a lot of
      things. I haven’t been called vexatious, and I don’t think I was in this
      case. In fact, if anything, I was trying very hard to get to a resolution
      without having to force the other side to engage unnecessarily in
      litigation.
(DE 82-1 at 36-37).

      A Shoc’s argument that the passage quoted above somehow waived former

counsel’s due process rights is preposterous. The district court never once said at

any point in the course of the hearing that it intended to enter an order awarding

“attorneys’ fees as a sanction” under § 1927 (DE 66 at 5), or that the amount of the

sanction would be “entered against Plaintiff’s counsel.” (DE 66 at 10).

   b. The Record is Devoid of Any Bad Faith Conduct by Counsel and the
      District Court’s Finding of Bad Faith was an Abuse of Discretion

      A Shoc’s motion to the district court was rife with factual inaccuracies and

outright contrivances disguised as “evidence” of bad faith, and the district court

bought into them hook, line and sinker. A Shoc trots its false facts back out in its

brief along with the conclusory assertion that A Shoc’s false facts “laid out a

pattern of conduct that was supported by the record…”. (Resp. Br. at 25).

      Celsius explained in detail in its statement of the case in its initial brief the

facts below to show there was no pattern of bad faith conduct. A Shoc did not

respond to any of former counsel’s factual recitations. A Shoc never addressed the

absence of any factual underpinnings to support the district court’s incorrect


                                           12
USCA11 Case: 22-12687        Document: 44      Date Filed: 03/31/2023   Page: 19 of 33



conclusions either. Instead, A Shoc discarded thirty pages of former counsel’s

statement of the case in its brief with the rhetorical (and false) assertion that former

counsel “do not seriously dispute, in anything more than the most cursory way, that

the district court’s findings were clearly erroneous or that the district court abused

its discretion in imposing sanctions.”9 (Resp. Br. at 25).

      Let there be no mistake: former counsel demonstrated in their brief that the

district court’s conclusions lacked factual support and relied solely on conclusory

allegations that were unsupported and, therefore, the district court’s findings were

clearly erroneous and the district court abused its discretion in imposing sanctions.

      Take for example the district court’s conclusion that “Celsius’s claims were

flatly refuted by scientific studies that Celsius cited in its own complaint and were

‘directly undercut by well-established research.’ (DE 66 at 6).” (Resp. Br. at 25).

There is no such “well-established research” in the record. The scientific studies in



9
  Factual misstatements and outright fabrications like this one pervade A Shoc’s
brief. Another example: “Appellants do not actually contend that the legal claims
they promoted had any merit (either in their subjective opinion or objectively).”
(Resp. Br. at 26). That statement is an outright falsehood. Former counsel
explained in their statement of the case in detail why Celsius’ complaint was
meritorious. Former counsel asserted clearly and repeatedly in their initial brief
that the order on appeal lacks findings concerning the actions or omissions of
counsel for Celsius (Init. Br. at 42), the order lacks any basis to show that counsel
acted unreasonably or vexatiously (Init. Br. at 43), and the order on appeal lacks
any basis to impose sanctions. (Init. Br. at 44). A Shoc obviously could not find
any support for the district court’s order, so it resorted in its brief to just making
things up.


                                          13
USCA11 Case: 22-12687        Document: 44      Date Filed: 03/31/2023   Page: 20 of 33



the record concerned studies of Celsius’ formula, not studies of caffeine generally,

and certainly not studies of A Shoc’s formula. Caffeine is obviously dose

dependent, a fact that is apparent to anyone who has ever consumed too many cups

of coffee. There is no evidence in the record to show how much caffeine a can of A

Shoc contains.10 Therefore, Celsius’ allegations in the complaint that A Shoc’s

structure/function claims were unsupported because they were based on an

unknown amount of caffeine were never “undercut.”11

      Take for yet another example the district court’s conclusion that Celsius’

“trade dress claims were ‘premised on standard conventions,’” were “not

protectible trade dress,” and that former counsel “should have known as much no

later than when Defendants filed their motion to dismiss (id. at 7).” (Resp. Br. at

25). Former counsel set forth in their brief the trade dress analysis of the Celsius


10
  The district court quoted from studies in footnote 3 of the order at page 6. The
quotes the district court chose all concerned the ingestion of a single 100mg dose
of caffeine. However, there is no evidence in the record how much caffeine is
contained in a can of A Shoc, so therefore the assumption the district court made—
that the studies quoted from applied to A Shoc as well as to Celsius—was a false
assumption.
11
  Celsius’ claims were not “Lanham Act or state law claims that ‘exist solely by
virtue of the FDCA,’ or “would require litigation of an underlying FDCA
violation” which is the way the district court incorrectly characterized them. (DE
66 at 6). Rather, Celsius’ claims fell precisely within the Supreme Court’s decision
in POM Wonderful LLC v. Coca-Cola Co., 573 U.S. 102 (2014) that held the
Lanham Act empowered private parties to sue competitors to protect their interests
on a case-by-case basis where the plaintiff challenged the competitor’s FDCA
regulated beverage label as being false or misleading.


                                          14
USCA11 Case: 22-12687        Document: 44      Date Filed: 03/31/2023   Page: 21 of 33



can and the A Shoc can, their similarities, and Celsius’ claim to be the senior user

of the trade dress elements described in the complaint. A Shoc failed to respond to

these facts by refuting them, contradicting them, or otherwise pointing to the

record as showing that Celsius’ can design was not entitled to senior status or trade

dress protection. A Shoc did instead what the district court did, which was criticize

Celsius’ trade dress claim by improperly comparing the individual features of

Celsius’ trade dress with the cans belonging to different products on the market, an

irrelevant exercise.

      1. A Shoc’s Crystal Ball Waiver Argument Fails
      In its initial brief, former counsel for Celsius asserted that A Shoc never

came forward with any evidence or specific allegations against former counsel that

identified the conduct of counsel as deserving of sanctions, as opposed to the

conduct of Celsius. (Init. Br. passim). Former counsel also argued that the district

court’s decision speaks only in terms of plaintiff (meaning Celsius) throughout and

does not make a distinction between Celsius and counsel when discussing the basis

for sanctions, and therefore the district court’s order fails to support the imposition

of sanctions against former counsel. (Init. Br. at 41-47).

      In response, A Shoc admits that A Shoc’s case for sanctions was not targeted

but scattershot. A Shoc concedes that the language of the district court’s order does

not support the imposition of sanctions against counsel specifically. However, A



                                          15
USCA11 Case: 22-12687        Document: 44      Date Filed: 03/31/2023   Page: 22 of 33



Shoc asserts that former counsel’s argument that it was “Celsius (the client) [who]

was responsible for any of the bad faith conduct in the underlying litigation has

been waived.” (Resp. Br. at 21).

      A Shoc’s stunning waiver argument merits a full quote if only to allow the

reader to ponder the sheer absurdity of it.

      At no point before this appeal did Appellants argue that Celsius was
      responsible, in any way, for counsel’s actions. See DE 57 (response to
      motion for sanctions) (passim); DE 82-1 (hearing transcript) (passim).
      They did not make this argument in opposition to A SHOC’s motion
      for sanctions, instead choosing to argue that there was no vexatious
      litigation conduct by anyone. See DE 57 (passim). Nor did they
      present any evidence at the sanctions hearing that the client was
      responsible for any of counsel’s conduct. See DE 82-1 (passim).
      Appellants essentially fault the district court for not sua sponte
      drawing a distinction that Celsius’s counsel never raised or provided
      any evidence to support. If Appellants believed that Celsius, as
      opposed to their firm, should be held responsible for advancing
      frivolous legal positions and failing to participate in discovery, it was
      incumbent upon Appellants to raise and argue that point. They failed
      to do so.
(Resp. Br. at 21-22).

      A Shoc’s waiver argument turns the burden of proof on its head and casts

the ethics rules asunder. Think about it: in a broad stroke A Shoc accused former

counsel’s client of wrongdoing in connection with litigated issues that were never

decided by the court. A Shoc now says that in response to A Shoc’s motion for

sanctions that accused Celsius “and/or” former counsel of unspecified offences,

former counsel was obligated to immediately utilize attorney/client and work



                                          16
USCA11 Case: 22-12687        Document: 44      Date Filed: 03/31/2023   Page: 23 of 33



product protected information to point the finger of blame at Celsius.12 According

to A Shoc, former counsel’s failure to blame Celsius caused former counsel to

become an accomplice after the fact with its former client and effected an

extensive waiver of rights and defenses to the order that the district court

subsequently issued.

      A Shoc’s waiver argument only flies in a world where lawyers have no

duties of loyalty to clients and possess working crystal balls that predict the future.

It’s an absurd argument with no legal support whatsoever. A Shoc cites only to

Access Now, Inc. v. Sw. Airlines Co., 385 F.3d 1324, 1330 (11th Cir. 2004), but

there the plaintiff advanced a novel legal argument on appeal that relied on a very

specific statute where neither the facts supporting the argument nor the statute

relied upon were ever raised below. The waiver in Access Now is not the type of

waiver A Shoc advances here.

      A Shoc’s waiver would prevent former counsel from arguing purely

questions of law such as whether A Shoc proved its entitlement to § 1927 sanctions

by demonstrating that former counsel engaged in “unreasonable and vexatious”

12
   This is undoubtedly A Shoc’s argument. If the Court doubts that A Shoc is really
making this argument—incredibly enough through its lawyers—one need only turn
the page to find A Shoc again faulting former counsel because “Appellants did not
argue to the district court, that any of the contumacious conduct identified by the
district court was caused by Celsius’s actions, or that fees should be apportioned to
anyone other than Appellants. See DE 57 (passim); DE 82-1 (passim).” (Resp. Br.
at 22).


                                          17
USCA11 Case: 22-12687       Document: 44      Date Filed: 03/31/2023   Page: 24 of 33



conduct that “multiplies the proceedings,” or that the amount of the sanction bears

a financial nexus to the excess proceedings. But questions of law are never waived.

Blue v. Lopez, 901 F.3d 1352, 1357 n.3 (11th Cir. 2018). Neither are questions

where the ends of justice will be best served by this Court’s consideration of them.

Id. Those are the questions presented here, and on those questions there could be

no waiver.

      2. Blaming Former Counsel for its Client’s Actions Simply Because
         Lawyers in Our Judicial System are their Client’s Representatives is
         Not a Substitute for Proving Bad Faith
      A Shoc concedes (with emphasis) that it cannot distinguish between the

offending conduct undertaken by former counsel versus the offending conduct

undertaken by former counsel’s client—the pursuit of frivolous legal claims, the

failure to participate in discovery, the “deficient” expert reports—because “[a]ll of

that conduct was undertaken by counsel.” (Resp. Br. at 22)(emphasis in original).

Because “neither Defendants nor the district court have had any interaction with

Celsius, except through Appellants,” A Shoc argues that in this case no distinction

should be drawn between attorney and client. After all (and again with emphasis),

“[a]ll of the bad faith conduct was undertaken directly by Celsius’s attorneys.”13


13
  In support, A Shoc asserts that counsel, not counsel’s client, acted in bad faith
because former counsel “signed the complaint (see DE 1 at 31), signed all of the
discovery papers (see DE 34-2 at 78; DE 35-3 at 200; DE 35-4 at 13), submitted
deficient “expert reports,” (see DE 39-5; DE 39-8) and refused to submit any
evidence supporting their client’s legal claims or to abide by basic rules of


                                         18
USCA11 Case: 22-12687       Document: 44        Date Filed: 03/31/2023   Page: 25 of 33



(Resp. Br. at 22)(emphasis in original).

      A Shoc’s defiant refusal to draw a distinction between attorney and client

fails to comport with the law and this Court’s precedent that requires a finding of

bad faith by the attorney (as opposed to bad faith by the client) before the Court

imposes sanctions under § 1983. Amlong & Amlong, P.A. v. Denny’s, Inc., 457

F.3d 1180, 1190 (11th Cir. 2006)(An attorney multiplies proceedings unreasonably

and vexatiously within the meaning of the statute “only when the attorney’s

conduct is so egregious that it is ‘tantamount to bad faith.’”); McMahan v. Toto,

256 F.3d 1120, 1129 (11th Cir. 2001), amended on reh’g, 311 F.3d 1077 (11th Cir.

2002) (For sanctions under section 1927 to be appropriate, “[s]omething more than

a lack of merit is required or they would be due in every case.”); Peterson v. BMI

Refractories, 124 F.3d 1386, 1395 (11th Cir. 1997)(The imposition of sanctions

pursuant to §1927 requires a finding that (1) counsel engaged in unreasonable and

vexatious conduct, (2) that this conduct multiplied the proceedings, and (3) that the

amount of sanction bears a financial nexus to the cost associated with the excess

proceedings.).

      A Shoc’s attempt to support its assertion that lawyer and client are



discovery. DE 66 at 4-7.” (Resp. Br. at 22). Notably, A Shoc never raised claims of
counsel’s bad faith as to any of the papers cited pursuant to Rule 11. If A Shoc
believed that the complaint was evidence of counsel’s bad faith, A Shoc should
have raised Rule 11 in response, but did not.


                                           19
USCA11 Case: 22-12687        Document: 44      Date Filed: 03/31/2023   Page: 26 of 33



irrevocably joined at the hip fails too. A Shoc cites Oliva v. NBTY, Inc., 583 F.

App’x 877, 881 (11th Cir. 2014). Olivia was a products liability case where the

attorney, independent of the client, “either knowingly or recklessly made false

representations in his motion,” filed a motion the court characterized as frivolous

which characterization the attorney never challenged, and “fil[ed] a frivolous

motion based on statements that he knew or should have known (by checking his

own records) were false, he obstructed the litigation and grossly deviated from the

conduct of a reasonable attorney.”14 Oliva, 583 F. App’x at 881.

      Frey v. Town of Jackson, 41 F.4th 1223 (10th Cir. 2022), cited by A Shoc, is

also inapposite. In Frey, a civil rights case stemming from an alleged unlawful

arrest, plaintiff’s counsel repeatedly filed amended complaint after amended

complaint raising frivolous constitutional claims that the district court found were

“egregious enough to warrant an award of attorney’s fees.” Frey, 41 F.4th at 1244.

      Both Olivia and Frey obviously involved claims asserted for individual

unsophisticated plaintiffs represented by counsel in federal court. Contrast those

plaintiffs with Celsius, a large publicly traded entity worth billions of dollars with

enough business to interest the SEC in performing an investigation, and enough

14
   The report and recommendation of the Magistrate Judge in Olivia that was
affirmed shows that the attorney’s conduct was considered separately from the
attorneys’ client there and not lumped together with the client like the court did
below. See Oliva v. NBTY, Inc., No. 11-80850-CIV, 2014 U.S. Dist. LEXIS
193390 (S.D. Fla. Apr. 28, 2014).


                                          20
USCA11 Case: 22-12687        Document: 44       Date Filed: 03/31/2023   Page: 27 of 33



resources to spend millions of dollars on clinical studies to support the

structure/function claims made for its dietary supplement products. It would be

obvious to a court examining the circumstances in Olivia and Frey that the

plaintiffs’ lawyers in those cases were calling the shots. It is a different situation

altogether to make the same assumption—without the benefit of a hearing and fact

finding as required—in this case. Celsius is a sophisticated client with in-house

lawyers and outside counsel. Celsius’ decisions cannot be automatically imputed to

outside counsel in federal trademark infringement litigation.

      3. None of A Shoc’s Legal Authorities Provide any Support for the
         Unprecedented Sanctions Imposed by the District Court Below on
         Former Counsel Whose Only Iniquity was that they Represented A
         Shoc’s Competitor Celsius.
      A Shoc’s argument that “[c]ourts routinely sanction attorneys for engaging

in similar conduct” (with citations to authorities) (Resp. Br. at 26), would be a

valid argument if former counsel actually engaged in any of the conduct alleged,

but none of it is true, and none of it was determined based on any fact finding by

the district court. Even if the district court had engaged in fact finding and found

that any of the conduct alleged by A Shoc was actually committed, none of the

conduct was committed by former counsel, it was all Celsius’ conduct, as

compared to the sanctionable conduct by counsel referenced in the authorities cited

by A Shoc. (Resp. Br. at 26).

      None of the cases cited by A Shoc are analogous or in any way “similar” to


                                           21
USCA11 Case: 22-12687        Document: 44      Date Filed: 03/31/2023   Page: 28 of 33



this one.15 In Eldredge v. EDCare Mgmt., counsel in an FLSA case was sanctioned

after fact finding and credibility determinations by the magistrate judge that, inter

alia, counsel refused to turn over plaintiff’s corporate laptop belonging to the

defendant despite numerous demands for the return of the defendant’s property

thereby creating an unfair advantage for the plaintiff “and vitiating the entire

Eldredge litigation.” 766 F. App’x 901, 908 (11th Cir. 2019).

      In Young Apartments, Inc. v. Town of Jupiter, another civil rights case, §

1927 fees were awarded specifically for the period after this Court’s decision in

Young Apartments, Inc. v. Town of Jupiter, FL, 529 F.3d 1027 (11th Cir. 2008),

which remanded the case but in the process determined that several of plaintiff’s

theories of recovery were either not viable or required evidence that plaintiff

plainly did not possess. Young Apartments, Inc. v. Town of Jupiter, 503 F. App’x

711, 716 (11th Cir. 2013). After the litigation that followed remand, this Court

affirmed the sanctions award for the period after remand because plaintiff’s

counsel continued to pursue claims that counsel was already told by this Court

were baseless, and because counsel defaulted in response to the motion for fees.

Young Apartments, 503 F. App’x at 715-6.



15
   A Shoc cited to Amlong & Amlong, P.A. v. Denny’s, Inc., 500 F.3d 1230 (11th
Cir. 2006), but that case reversed a sanctions award under § 1927 for absence of
evidence of sanctionable conduct by counsel. A Shoc also cited to Frey, a civil
rights case discussed above that is also inapplicable.


                                          22
USCA11 Case: 22-12687       Document: 44      Date Filed: 03/31/2023   Page: 29 of 33



      In Apex Oil Co. v. Belcher Co. of N.Y., a Second Circuit case A Shoc cited

for the proposition that “courts regularly impose sanctions under Section 1927 for

multiplying proceedings during discovery” (Resp. Br. at 28), the district court

examined the entire record and found that in response to “reasonable requests for

admissions, document production, and the identification” of an expert, plaintiff’s

“counsel attempted to resolve the matter informally” pursuant to the local rules,

was told in each case “to make a motion,” and in each case after the motion was

made, “defense counsel ‘mysteriously,’ in the district court’s words, complied with

the requests.” 855 F.2d 1009, 1020 (2d Cir. 1988).

      Apex is not this case. Celsius objected to A Shoc’s requests. The parties met

and conferred on Celsius’ objections. Celsius amended its responses several times

as a result. A Shoc then moved to compel. A Shoc’s motions to compel were never

decided. It was pure speculation for the district court—after skimming through a

mere handful of objections to A Shoc’s hundreds of requests to produce and

admit—to conclude that Celsius’ objections were improper.

      4. The District Court’s Sanction Award was Untethered from Any
         Alleged Vexatious Conduct
      A Shoc asserts—citing no record evidence and relying only on the district

court’s decision on appeal for authority—that the district court did not abuse its

discretion when it failed to find a causal connection between the alleged




                                         23
USCA11 Case: 22-12687       Document: 44      Date Filed: 03/31/2023   Page: 30 of 33



objectionable conduct of counsel and multiplication of the proceedings 16. None of

the fees or costs awarded bore any relationship to former counsel’s alleged

conduct. In response, A Shoc failed to show any such relationship, pointing out

only that the district court awarded all the fees incurred after A Shoc moved to

dismiss. (Resp. Br. at 30). According to A Shoc, § 1927 is a catch all provision that

captures and compensates defendants for all of plaintiff’s counsel’s objectionable

conduct after the dismissal stage.

      A Shoc’s position does not hold water. Section 1927 is not a “catch-all”

provision. Amlong & Amlong, 500 F.3d at 1242. “[T]he dollar amount of the

sanction must bear a financial nexus to the excess proceedings, i.e., the sanction

may not exceed the ‘costs, expenses, and attorneys’ fees reasonably incurred

because of such conduct.’” Peterson, 124 F.3d at 1396 quoting 28 U.S.C. § 1927.

The failure to justify the amount awarded renders the award arbitrary. Carlucci v.

Piper Aircraft Corp., 775 F.2d 1440, 1453 (11th Cir. 1985) (district court’s failure

to place on the record evidence sufficient to explain how it arrived at the sanction

imposed reflective of the costs entailed by the attorneys’ misconduct rendered it

arbitrary, based on unsupported assumptions, and subject to reversal).



16
  A Shoc’s argument that its motion was a motion for attorneys’ fees subject to
local rule 7.3(b) and Appellants waived the lack of causal connection argument
(Resp. Br. at 32) should also dictate that the motion should have been denied
because it was not verified as required by the rule.


                                         24
USCA11 Case: 22-12687      Document: 44        Date Filed: 03/31/2023   Page: 31 of 33



                           III.     CONCLUSION

      The district court’s order should be reversed, vacated, and the sanction

against counsel expunged, with costs.

Dated: March 31, 2023

                                  Respectfully submitted,

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                                          25
USCA11 Case: 22-12687     Document: 44    Date Filed: 03/31/2023   Page: 32 of 33



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                                                 /s/ Avery A. Dial, Esq.




                                     26
USCA11 Case: 22-12687      Document: 44      Date Filed: 03/31/2023    Page: 33 of 33



                         CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on this 31st day of March, 2023, a true and

correct copy of the foregoing was filed with the Clerk of the Court using the

CM/ECF system which will send notice of electronic filing to all counsel of record.

                                             /s/ Avery A. Dial, Esq.
                                             4894-6898-2362, v. 1




                                        27
